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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

NEXON AMERICA INC,
Plaintiff,
Vv. C.A. No. 19-cv-1096-CFC

UNILOC 2017 LLC, UNILOC USA,
INC., AND UNILOC LUXEMBOURG,
S.A,

Defendants.
UNILOC 2017 LLC,
Counterclaim-plaintiff,

Vv.

NEXON CO., LTD., NEXON KOREAN
CORPORATION, and NEXON
AMERICA, INC.,

Counterclaim-
defendants.

STIPULATION AND jPROPOSEBVORDER

TO STAY PENDING APPEALS

 

THE PARTIES STIPULATE to stay this action, pending appeal of this
Court’s decision finding that Uniloc USA, Inc. and Uniloc Luxembourg S.A. lack
standing in Uniloc USA, Inc. et al. v. Motorola Mobility LLC (Case No. 17-1658);

the Northern District of California’s decision finding that Uniloc USA, Inc. and
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Uniloc Luxembourg S.A. lack standing in Uniloc USA, Inc. et al v. Apple Inc.
(Case No. 18-358); and the Northern District of California’s decision finding that
Uniloc 2017 lacks standing in Uniloc 2017 LLC v. Google LLC (Case No. 20-4355
and various related cases),

The actions cited above were dismissed based on the courts’ holding that a
third party had the ability to sublicense the patents in the Uniloc portfolio as of the
dates those actions were filed; that that ability deprived the Uniloc plaintiffs of
constitutional standing to file the actions; and that the court therefore did not have
subject matter jurisdiction. The Uniloc plaintiffs are appealing those decisions.

Those decisions appear to create issue preclusion as to various factual and
legal issues in this action. According to those decisions, this Court appears to lack
subject matter jurisdiction over this action. The parties therefore believe the
Federal Circuit appeals of those decisions will materially affect the outcome of this
action.

The parties therefore STIPULATE, with the consent of the Court, to stay
this action pending resolution of Uniloc’s appeals to the United States Court of
Appeals for the Federal Circuit from the above decisions. Within seven days from
the issuance of the last of such decisions from the Federal Circuit, the parties shall

file a joint notice advising the Court of the decisions.
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Dated: February 19, 2021 Respectfully submitted,
POTTER ANDERSON & FARNAN LLP
CORROON LLP
By: /s/ Brian FE. Farnan
By: /s/ Philip A. Rovner Brian E. Farnan (# 4089)
Philip A. Rovner (#3215) Michael J. Farnan (# 5165)
Jonathan A. Choa (#5319) 919 N. Market Street, 12th Floor
Hercules Plaza Wilmington, DE 19801
P.O. Box 951 (302) 777-0300
Wilmington, DE 19899 bfarnan@farnanlaw.com
(302) 984-6000 mfarnan@farnanlaw.com
provner@potteranderson.com
jchoa@potteranderson.com Attorney for Defendant/Counterclaim-
plaintiff

Attorneys for Plaintiff/Counterclaim-
Defendants

IT IS SO ORDERED this_ 22° A day of February, 2021.

(Lo GO,

The Honorable Colm F.@@onnolly

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